Case 1:25-cv-00168-GBW            Document 78   Filed 03/17/25        Page 1 of 1 PageID #: 802




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                            )
                     Plaintiff,                 )
                                                )
       v.                                       )   C.A. No. 25-CV-168-GBW
 KPLER HOLDING SA,                              )
                                                )
                     Defendant.                 )

     NOTICE OF INTENT TO SERVE THIRD-PARTY SUBPOENA TO PRODUCE
     DOCUMENTS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 45

       PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, the undersigned will serve a Subpoena to Produce Documents, Information or Objects

upon the following non-party on or after March 17, 2025:

    1. Cooley LLP

                                            FAEGRE DRINKER
 OF COUNSEL:                                BIDDLE & REATH LLP

 SIMPSON THACHER &                          /s/ Oderah C. Nwaeze
 BARTLETT LLP                               Oderah C. Nwaeze (#5697)
 Jonathan K. Youngwood (pro hac vice)       Angela Lam (#6431)
 Meredith Karp (pro hac vice)               222 Delaware Avenue, Suite 1410
 Jacob Lundqvist (pro hac vice)             Wilmington, DE 19801
 Nora C. Hood (pro hac vice)                (302) 467-4200
 425 Lexington Avenue                       oderah.nwaeze@faegredrinker.com
 New York, NY 10017                         angela.lam@faegredrinker.com

                                            Attorneys for Plaintiff

Dated: March 17, 2025
